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FILED

IN THE UNITED STATES DISTRICT COURT MAY 19 2009
FOR THE WESTERN DISTRICT OF VIRGINIA oon
ABINGDON DIVISION BY.

UNITED STATES OF AMERICA

 

VS. : Case No. /. D4 CRA
WILLIAM DEEL, JR. : Violations: 18 U.S.C. § 2
BOBBY ALLEN HOUSER ; 18 U.S.C. § 371
TONY CAMPBELL , 18 U.S.C, § 844
DAVID MITCHELL : 18 U.S.C, § 922
GLEA BROYLES 18 U.S.C. § 1512
JOHN BREWER 18 U.S.C. § 1623
DANNY BAIRD : 18 U.S.C. § 2312
ROBERT EDWARDS 18 U.S.C, § 2313
ROY LEE BRACKETT 4 18 U.S.C. § 2314
ROCKY TRIVETTE ; 18 U.S.C. § 2315
JIMMY JAMES MILLER : 21 U.S.C. § 841
JAMES DOSS 21 U.S.C. § 846
MICHAEL WIDENER :

INDICTMENT
INTRODUCTION

The Grand Jury charges that:

1. On or about and between January 2008 and March 2009, BOBBY ALLEN HOUSER,
Steven Widener, WILLIAM DEEL, JR., GLEA BROYLES, JOHN BREWER, ROY LEE
BRACKETT, ROCKY TRIVETTE, DANNY BAIRD, JAMES DOSS, DAVID MITCHELL,
ROBERT EDWARDS, TONY CAMPBELL, and JIMMY JAMES MILLER conspired to
commit numerous criminal offenses associated with the theft of property and the business of
dealing in stolen property.

2. Beginning on or about January 2008, BOBBY ALLEN HOUSER, Steven Widener,

and WILLIAM DEEL, JR., worked to together to steal heavy construction equipment, farm

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equipment, automobiles, all terrain vehicles, utility vehicles, lawn mowers, firearms, furniture,
and other property from businesses and private citizens in Southwest Virginia, Northeast
Tennessee, and West Virginia.

3. Their goal was to sell the stolen property for a profit to one of a number of individuals
known to BOBBY ALLEN HOUSER, Steven Widener, and WILLIAM DEEL, JR. These
individuals, routinely dealt in stolen property and were located in Northeast Tennessee and
North Carolina) GLEA BROYLES, JOHN BREWER, ROY LEE BRACKETT, ROCKY
TRIVETTE, DANNY BAIRD, and JAMES DOSS, knowing that the property was stolen, would
pay BOBBY ALLEN HOUSER, Steven Widener, and WILLIAM DEEL, JR., a sum of money
for the property and would then sell the property for a profit to a number of buyers, who typically
knew or had reason to believe the property was stolen.

4. On many occasions, GLEA BROYLES, JOHN BREWER, ROY LEE BRACKETT,
ROCKY TRIVETTE, DANNY BAIRD, and JAMES DOSS placed an order with BOBBY
ALLEN HOUSER, Steven Widener, and WILLIAM DEEL, JR., specifically describing the piece
of equipment or property a buyer had requested. On these occasions, BOBBY ALLEN
HOUSER, Steven Widener, and WILLIAM DEEL, JR., would specifically seek out the piece of
equipment or property ordered by the buyer. Once a suitable piece of equipment or property was
located, they would return at a later time and steal the property.

5. In order to effectively conceal the stolen property until it could be sold, BOBBY
ALLEN HOUSER, Steven Widener, and WILLIAM DEEL, JR., utilized the assistance of
numerous individuals to both transport and store the stolen property until the property could be

sold. These individuals, including DAVID MITCHELL, ROBERT EDWARDS, and others,

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knew the property they were storing and transporting was stolen and did so in exchange for
money, other compensation, or an opportunity to purchase the stolen property at a price
significantly less than the value of the property.

6. Two individuals who knew that property they purchased was stolen, and then
concealed such fact when confronted by law enforcement, were TONY CAMPBELL and
JIMMY MILLLER, TONY CAMPBELL purchased stolen all-terrain vehicles and a stolen
backhoe from JOHN BREWER knowing that the property was stolen and concealed the fact that
he knew the property was stolen. JIMMY JAMES MILLER purchased a stolen backhoe from
ROCKY TRIVETTE knowing that the property was stolen and then concealed the fact that he
knew the property was stolen.

7, On numerous occasions, BOBBY ALLEN HOUSER, Steven Widener, and WILLIAM
DEEL, JR., would accept Lortabs, Oxycontin, and other controlled substances from JAMES
DOSS, ROBERT EDWARDS, DANNY BAIRD, and others, in lieu of money in exchange for
the stolen property. BOBBY ALLEN HOUSER, and WILLIAM DEEL, JR., would use the
controlled substances or distribute these controlled substances to others.

8. On occasion, WILLIAM DEEL, JR., and others would trade Suboxone and other
controlled substances to MICHAEL WIDENER in exchange for stolen automobile parts that
MICHAEL WIDENER stole from his employer, an automobile parts store located in Bristol,
Tennessee,

9. Concerned about being identified by law enforcement, BOBBY ALLEN HOUSER,
Steven Widener, and WILLIAM DEEL, J R., on two occasions made the decision to destroy

motor vehicles they had stolen in order to obstruct any investigation into the thefts. On or about

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December 8, 2008, a pickup truck and trailer was stolen from an equipment company in Bristol,
Tennessee, in order to tow a trailer with a backhoe stolen on that same day from another
equipment company located in Kingsport, Tennessee. The pick-up.truck was driven from
Tennessee to Abingdon, Virginia, and then to Ryder Church Road, Bristol, Tennessee, where it
was destroyed by fire. On or about January 30, 2009, a Ford pick-up truck was stolen from an
equipment business in Lebanon, Virginia, in order to transport eight all-terrain vehicles that were
also stolen on that same date. The pick-up truck was driven from Lebanon, Virginia, to
Tennessee, and then to Paintsville, Kentucky, where it was destroyed by fire in order to obstruct
any investigation into the theft.

10. In addition to the other thefts, WILLIAM DEEL, JR., and others stole large quantities
of livestock supplies and tools from farm supply stores and hardware stores located in the
Western District of Virginia and elsewhere, which they would then sell to GLEA BROYLES and
another person known to the grand jury, both of whom owned businesses where they would then

resell the property, knowing or having reason to know the property was stolen.

11. The total value of property stolen was in excess of $400,000.00.

COUNT ONE
The Grand Jury charges that:
1. The Introduction is realleged and incorporated by reference into this Count of the
Indictment.
2. On or about and between January 2008 and March 2009, in the Western District of

Virginia and elsewhere, BOBBY ALLEN HOUSER, Steven Widener, WILLIAM DEEL, JR., GLEA

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BROYLES, JOHN BREWER, ROY LEE BRACKETT, ROCKY TRIVETTE, DANNY BAIRD,
JAMES DOSS, DAVID MITCHELL, ROBERT EDWARDS, TONY CAMPBELL, JIMMY JAMES
MILLER, and others known and unknown to the grand jury, conspired to (a) transport in interstate
commerce a motor vehicle knowing the same to have been stolen, in violation of Title 18, United
States Code, Section 2312; (b) receive, possess, conceal, store, barter, sell, and dispose of any motor
vehicle, which has crossed a State boundary after being stolen, knowing the same to have been
stolen, in violation of Title 18, United States Code, Section 2313; (c) transport, transmit, and transfer
in interstate commerce any goods, wares, and merchandise, of the value of $5,000 or more, which
had crossed a State boundary after having been stolen, unlawfully converted or taken, knowing the
same to have been stolen, converted or taken by fraud, in violation of Title 18, United States Code,
Section 2314; (d) receive, possess, conceal, store, barter, sell, and dispose of any goods, ware, and
merchandise of the value of $5,000 or more, knowing the same to have been stolen, unlawfully
converted, or taken, in violation of Title 18, United States Code, Section 2315.

3. In furtherance of the conspiracy and to achieve the objects thereof, the defendants and
their co-conspirators, committed and caused to be committed overt acts in the Western District of
Virginia and elsewhere, including, but not limited to the following:

A) | On or about August 13, 2008, BOBBY ALLEN HOUSER, and WILLIAM
DEEL, JR., stole a Simplicity Lawn Mower, valued at more than $5,000 and
a Rader RTV valued at more than $3,000 from a business in Bristol,
Tennessee. The Rader RTV was transported to Washington County, Virginia
where it was sold to ROBERT EDWARDS.

B) On or about August 30, 2008, WILLIAM DEEL, JR., stole a John Deere

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C)

D)

E)

Unitrack End Loader with a value in excess of $10,000 from Washington
County, Virginia, and transported it to Sullivan County, Tennessee, where it
was sold to ROCKY TRIVETTE who then sold the property to ROY LEE
BRACKETT, |

On or about September 2008, GLEA BROYLES purchased a Scag
Lawnmower valued at approximately $10,000 that had been stolen from
Clemson, South Carolina. GLEA BROYLES received this property at his
residence in Washington County, Tennessee.

On or about September 18, 2008, BOBBY ALLEN HOUSER and WILLIAM
DEEL, JR. stole two all-terrain vehicles valued at more than $5,000 from a
business located on Lee Highway, in Washington County, Virginia. One all-
terrain vehicle was sold to ROY LEE BRACKETT at his residence in
Sullivan County, Tennessee. Another all-terrain vehicle was transported to
Burnsville, North Carolina, where it was sold toa person known to the grand
jury.

On or about and between October 24, 2008, and October 27, 2008, two
Kubota RTV’s with a value over $25,000, were stolen from a business
located on Lee Highway in Washington County, Virginia, by WILLIAM

DEEL, JR., and BOBBY ALLEN HOUSER. These Kubota RTV’s were

transported to DANNY BAIRD’S residence in Elizabethton, Tennessee,

where they were stored until they were transported to the tesidence of

JAMES DOSS in Bristol, Tennessee and sold to JAMES DOSS for money

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F)

G)

H)

and controlled substances.

On or about November 7, 2008, a Claas hay-baler with a value in excess of
$23,000 was stolen from Johnson Chapel Road, Bristol, Virginia, by BOBBY
ALLEN HOUSER, and WILLIAM DEEL, JR. The hay-baler was transported
to Elizabethton, Tennessee, where it was sold to JOHN BREWER.

On or about December 9, 2008, a Ford pick-up truck and trailer were stolen
from a business on Highway 11E in Sullivan County, Tennessee, by BOBBY
ALLEN HOUSER and Steven Widener. The pick-up truck was driven to
Kingsport, Tennessee, where BOBBY ALLEN HOUSER and Steven
Widener stole a Kubota Backhoe and Loader with a value in excess of
$31,000, All of this property was transported to Abingdon, Virginia, and
then to Carter County and Sullivan Counties, Tennessee, with the assistance
of WILLIAM DEEL, JR. The Kubota Backhoe and Loader were sold to
JOHN BREWER who then sold the Kubota Backhoe and Loader to TONY
CAMPBELL.

On or about January 6, 2009, BOBBY ALLEN HOUSER and Steven
Widener stole three all-terrain vehicles and a trailer with a value in excess of
$9,000, from a business in Wytheville, Virginia. One of the all-terrain
vehicles, a Honda 350, was transported to Elizabethton, Tennessee and sold
to JOHN BREWER. Another all-terrain vehicle, a green Quad-runner, was
transported to Bristol, Tennessee, by Steven Widener and BOBBY ALLEN

HOUSER, and traded for a motorcycle and a firearm, a Taurus .44 caliber

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‘)

J)

magnum pistol, s/n XG200752, which were then transported to Steven
Widener’s residence in Abingdon, Virginia..

On or about January 10, 2009, BOBBY ALLEN HOUSER and WILLIAM
DEEL, JR., stole furniture and appliances with a value in excess of $15,000
from a mobile home retail center located in Washington County, Virginia.
The furniture was transported to Bristol, Tennessee.

On or about and between January 30, 2009, and February 2, 2009, BOBBY
ALLEN HOUSER, WILLIAM DEEL, JR., and Steven Widener stole eight
all-terrain vehicles with a value in excess of $56,000, and a Ford pick-up
truck from a business in Lebanon, Virginia. Some of the all-terrain vehicles
were transported to Elizabethton, Tennessee where they were stored on
JOHN BREWER’s property. Some of these all-terrain vehicles were then
transported to North Carolina where ROBERT EDWARDS received and

stored the all-terrain vehicles.

4. All in violation of Title 18, United States Code, Section 371.

COUNT TWO

The Grand Jury charges that:

1. The Introduction is realleged and incorporated by reference into this Count of the

Indictment.

2. On or about and between December 9, 2008 and December 11, 2008, in the Western

District of Virginia and elsewhere, BOBBY ALLEN HOUSER, WILLIAM DEEL, JR., and Steven

Widener conspired to use fire to commit a felony which may be prosecuted in a court of the United

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States, specifically , to maliciously damage and destroy by means of fire a vehicle used in interstate
or foreign commerce or in any activity affecting interstate or foreign commerce, in violation of Title
18, United States Code, Section 844(i).

3. In furtherance of the conspiracy and to achieve the objects thereof, the defendants and
their co-conspirators, committed and caused to be committed the following overt acts in the Western
District of Virginia and elsewhere:

A) On or about December 9, 2008, a Ford pick-up truck and trailer were stolen
from a business engaged in interstate and foreign commerce on Highway 1 1E
in Sullivan County, Tennessee by BOBBY ALLEN HOUSER and Steven
Widener. The pick-up truck traveled to Abingdon, Virginia, and then to
Sullivan County, Tennessee, with the assistance of WILLIAM DEEL, JR.
The pick-up truck was maliciously destroyed by fire in Sullivan County,
Tennessee.

4. All in violation of Title 18, United States Code, Section 844(m).

- COUNT THREE

The Grand Jury charges that:

1. The Introduction is realleged and incorporated by reference into this Count of the
Indictment.

2, On or about and between January 30 2009, and February 3, 2009, in the Western District
of Virginia and elsewhere, BOBBY ALLEN HOUSER, WILLIAM DEEL, JR., and Steven Widener
conspired to use fire to commit a felony which may be prosecuted in a court of the United States,

specifically, to maliciously damage and destroy by means of fire a vehicle used in interstate or

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foreign commerce or in any activity affecting interstate or foreign commerce, in violation of Title
18, United States Code, Section 844(1).

3. In furtherance of the conspiracy and to achieve the objects thereof, the defendants and
their co-conspirators, committed and caused to be committed the following overt acts in the Western -
District of Virginia and elsewhere:

A) On or about and between January 30, 2009, and February 3, 2009, a Ford
pick-up truck and was stolen from a business engaged in interstate and
foreign commerce Lebanon, Virginia by BOBBY ALLEN HOUSER,
WILLIAM DEEL, JR., and Steven Widener. The pick-up truck was
subsequently driven to Sullivan County, Tennessee and Paintsville, Kentucky
where it was maliciously destroyed by fire.

4. All in violation of Title 18, United States Code, Section 844(m).

COUNT FOUR

The Grand Jury charges that:

1. The Introduction is realleged and incorporated by reference into this Count of the
Indictment.

2. On or about and between August 13, 2008, in the Western District of Virginia and
elsewhere, BOBBY ALLEN HOUSER, and WILLIAM DEEL, JR., as principals and aiders and
abettors, transported in interstate commerce a motor vehicle, knowing the same to have been stolen.

3. On or about August 13, 2008, BOBBY ALLEN HOUSER, and WILLIAM DEEL, JR.,
stole a Rader RTV from a business in Bristol, Tennessee and transported the Rader RTV to

Washington County, Virginia.

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4. Allin violation of Title 18, United States Code, Sections 2 and 2312.
COUNT FIVE

The Grand Jury charges that:

1. The Introduction is realleged and incorporated by reference into this Count of the
Indictment.

2. On or about August 13, 2008, in the Western District of Virginia and elsewhere, ROBERT
EDWARDS, received possessed, concealed, stored, sold and disposed of a motor vehicle which had
crossed a State boundary after being stolen, knowing the same to have been stolen.

3. On or about August 13, 2008, ROBERT EDWARDS received a Rader RTV at his home
in Washington County, Virginia that had been stolen from a business in Bristol, Tennessee, knowing
the same to have been stolen.

4. All in violation of Title 18, United States Code, Section 2313(a).

COUNT SIX

The Grand Jury charges that:

1. The Introduction is realleged and incorporated by reference into this Count of the
Indictment.

2. On or about August 30, 2008, in the Western District of Virginia and elsewhere,
WILLIAM DEEL, JR., transported in interstate commerce a motor vehicle, knowing the same to
have been stolen,

3. On or about August 30, 2008, WILLIAM DEEL, JR., stole a John Deere Unitrack End
Loader from Washington County, Virginia, and transported it to Sullivan County, Tennessee.

4. All in violation of Title 18, United States Code, Section 2312.

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COUNT SEVEN

The Grand Jury charges that:

1. The Introduction is realleged and incorporated by reference into this Count of the
Indictment.

2. On or about August 30, 2008, in the Western District of Virginia and elsewhere, ROCKY
TRIVETTE, received possessed, concealed, stored, sold and disposed of a motor vehicle which had
crossed a State boundary after being stolen, knowing the same to have been stolen.

3. On or about August 30, 2008, ROCKY TRIVETTE received possessed, concealed, stored,
sold and disposed ofa John Deere Unitrack End Loader that had been stolen in Washington County,
Virginia and transported to Sullivan County, Tennessee, knowing the same to have been stolen.

4, Allin violation of Title 18, United States Code, Section 2313{a).

COUNT EIGHT

The Grand Jury charges that:

1. The Introduction is realleged and incorporated by reference into this Count of the
Indictment.

2. On or about August 30, 2008, in the Western District of Virginia and elsewhere, ROY
LEE BRACKETT received possessed, concealed, stored, sold and disposed of a motor vehicle which
had crossed a State boundary after being stolen, knowing the same to have been stolen.

3, On or about August 30, 2008, ROY LEE BRACKETT received possessed, concealed,
stored, sold and disposed of a John Deere Unitrack End Loader in Sullivan County, Tennessee that
had been stolen in Washington County, Virginia and transported to Sullivan County, Tennessee,

knowing the same to have been stolen.

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4. Allin violation of Title 18, United States Code, Section 2313(a).
COUNT NINE

The Grand Jury charges that:

1. The Introduction is realleged and incorporated by reference into this Count of the
Indictment.

2. On or about September 18, 2008, in the Western District of Virginia and elsewhere,
BOBBY ALLEN HOUSER and WILLIAM DEEL, JR., as principals and aiders and abettors,
transported in interstate commerce a motor vehicle, knowing the same to have been stolen.

3. On or about September 18, 2008, BOBBY ALLEN HOUSER and WILLIAM DEEL, JR.
stole two all-terrain vehicles from a business located on Lee Highway, in Washington County,
Virginia. One all-terrain vehicle was transported to Sullivan County, Tennessee. The other all-
terrain vehicle was transported to Burnsville, North Carolina.

4. All in violation of Title 18, United States Code, Sections 2 and 2312.

COUNT TEN

The Grand Jury charges that:

1, The Introduction is realleged and incorporated by reference into this Count of the
Indictment.

2, On or about September 18, 2008, in the Western District of Virginia and elsewhere, ROY
LEE BRACKETT, received possessed, concealed, stored, sold and disposed of a motor vehicle
which had crossed a State boundary after being stolen, knowing the same to have been stolen.

3. On or about September 18, 2008, ROY LEE BRACKETT received possessed, concealed,

stored, sold and disposed of an all-terrain vehicle stolen from Washington County, Virginia, at his

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residence in Sullivan County, Tennessee, knowing the same to have been stolen.
4, Allin violation of Title 18, United States Code, Section 2313(a).
COUNT ELEVEN

The Grand Jury charges that:

1. The Introduction is realleged and incorporated by reference into this Count of the
Indictment.

2, On or about and between October 24, 2008, and October 27, 2008, in the Western District
of Virginia and elsewhere, BOBBY ALLEN HOUSER, Steven Widener, and WILLIAM DEEL, JR.,
as principals and aiders and abettors, transported in interstate commerce a motor vehicle, knowing
the same to have been stolen.

3. On or about and between October 24, 2008, and October 27, 2008, two Kubota RTV’s
with a value over $25,000, were stolen from a business located on Lee Highway in Washington
County, Virginia, by WILLIAM DEEL, JR., and BOBBY ALLEN HOUSER, These Kubotas were
transported to Elizabethton, Tennessee.

4, Allin violation of Title 18, United States Code, Sections 2 and 2312.

COUNT TWELVE

The Grand Jury charges that:

1. The Introduction is realleged and incorporated by reference into this Count of the
Indictment.

2. On or about and between October 24, 2008, and October 27, 2008, in the Western District
of Virginia and elsewhere, DANNY BAIRD received, possessed, concealed, stored, sold and

disposed ofa motor vehicle which had crossed a State boundary after being stolen, knowing the same

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to have been stolen.

3. On or about and between October 24, 2008, and October 27, 2008, DANNY BAIRD
received, possessed, concealed, stored, sold and disposed of two Kubota RTV’s at his home in
Elizabethon, Tennessee, that had previously been stolen from a business located on Lee Highway
in Washington County, Virginia, knowing the same to have been stolen.

4. Allin violation of Title 18, United States Code, Section 2313(a).

COUNT THIRTEEN

The Grand Jury charges that:

1. The Introduction is realleged and incorporated by reference into this Count of the
Indictment.

2. On or about and between October 24, 2008. and October 27, 2008, in the Western District
of Virginia and elsewhere, JAMES DOSS, received possessed, concealed, stored, sold and disposed
ofa motor vehicle which had crossed a State boundary after being stolen, knowing the same to have
been stolen.

3. On or about and between October 24, 2008, and October 27, 2008, JAMES DOSS
received possessed, concealed, stored, sold and disposed of two Kubota RTV’s at his home in
Bristol, Tennessee, that had previously been stolen from a business located on Lee Highway in
Washington County, Virginia, knowing the same to have been stolen.

4. All in violation of Title 18, United States Code, Section 2313(a).

COUNT FOURTEEN

The Grand Jury charges that:

1. The Introduction is realleged and incorporated by reference into this Count of the

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Indictment.

2. On or about November 7, 2008, in the Western District of Virginia and elsewhere,
BOBBY ALLEN HOUSER, and WILLIAM DEEL, JR., as principals and aiders and abettors,
transported in interstate commerce goods, wares, and merchandise, of the value of $5,000 or more,
knowing the same to have been stolen, converted or taken by fraud.

3. On or about November 7, 2008, a Claas hay-baler, with a value of $5,000 or more, was
stolen from Johnson Chapel Road, Bristol, Virginia, by BOBBY ALLEN HOUSER, and WILLIAM
DEEL, JR., and transported to Elizabethton, Tennessee.

4, Allin violation of Title 18, United States Code, Sections 2 and 2314.

COUNT FIFTEEN

The Grand Jury charges that:

1. The Introduction is realleged and incorporated by reference into this Count of the
Indictment.

2. On or about November 7, 2008, in the Western District of Virginia and elsewhere, JOHN
BREWER, received possessed, concealed, stored, sold and disposed of goods, wares, or merchandise
of the value of $5,000 or more which had crossed a State boundary after being stolen, converted, or
taken, knowing the same to have been stolen, unlawfully converted or taken.

3, On or about November 7, 2008, JOHN BREWER received possessed, concealed, stored,
sold and disposed of a Claas hay-baler with a value in excess of $5,000 in Elizabethton, Tennessee,
which had previously been stolen from Johnson Chapel Road, Bristol, Virginia.

4, Allin violation of Title 18, United States Code, Section 2315.

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COUNT SIXTEEN

The Grand Jury charges that:

1. The Introduction is realleged and incorporated by reference into this Count of the
Indictment.

2. On or about December 9, 2008, in the Western District of Virginia and elsewhere,
BOBBY ALLEN HOUSER, Steven Widener, and WILLIAM DEEL, JR., as principals and aiders
and abettors, transported in interstate commerce a motor vehicle, knowing the same to have been
stolen.

3. On or about December 9, 2008, BOBBY ALLEN HOUSER and Steven Widener stole a
Ford pick-up truck from a business on Highway 11E in Sullivan County, Tennessee. The pick-up
truck was driven to Kingsport, Tennessee, where BOBBY ALLEN HOUSER and Steven Widener
stole a Kubota Backhoe and Loader from a business in Kingsport, Tennessee. Both of these motor
vehicles were transported to Abingdon, Virginia by BOBBY ALLEN HOUSER and Steven Widener.
BOBBY ALLEN HOUSER, Steven Widener, and WILLIAM DEEL, JR., then transported the motor
vehicles back to Tennessee.

4, Allin violation of Title 18, United States Code, Sections 2 and 2312.

COUNT SEVENTEEN

The Grand Jury charges that:

1. The Introduction is realleged and incorporated by reference into this Count of the
Indictment.

2. On or about December 9, 2008, in the Western District of Virginia and elsewhere, JOHN

BREWER, received, possessed, concealed, stored, sold and disposed of a motor vehicle which had

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crossed a State boundary after being stolen, knowing the same to have been stolen.

3. On or about December 9, 2008, JOHN BREWER received possessed, concealed, stored,
sold and disposed of a Kubota Backhoe in Elizabethton, Tennessee, that had been transported from
Abingdon, Virginia to Elizabethton, Tennessee, knowing the same to have been stolen.

4, Allin violation of Title 18, United States Code, Section 2313(a).

COUNT EIGHTEEN

The Grand Jury charges that:

1, The Introduction is realleged and incorporated by reference into this Count of the
Indictment.

2. On or about December 9, 2008, in the Western District of Virginia and elsewhere, TONY
CAMPBELL, received, possessed, concealed, stored, sold and disposed of a motor vehicle which
had crossed a State boundary after being stolen, knowing the same to have been stolen.

3, On or about December 9, 2008, TONY CAMPBELL received possessed, concealed,
stored, sold and disposed of a Kubota Backhoe in Elizabethton, Tennessee, that had been transported
from Abingdon, Virginia to Elizabethton, Tennessee, knowing the same to have been stolen.

4. All in violation of Title 18, United States Code, Section 2313(a).

COUNT NINETEEN

The Grand Jury charges that:

1. The Introduction is realleged and incorporated by reference into this Count of the
Indictment.

2. On or about January 6, 2008, in the Western District of Virginia and elsewhere, BOBBY

ALLEN HOUSER and Steven Widener, as principals and aiders and abettors, transported in

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interstate commerce a motor vehicle, knowing the same to have been stolen.

3. On or about January 6, 2009, BOBBY ALLEN HOUSER and Steven Widener stole three
all-terrain vehicles, from a business in Wytheville, Virginia and transported the all-terrain vehicles
to Abingdon, Virginia. One of the all-terrain vehicles, a Honda 350, was transported to Elizabethton,
Tennessee by BOBBY ALLEN HOUSER and Steven Widener. Another all-terrain vehicle, a green
Quad-runner, was transported to Bristol, Tennessee by BOBBY ALLEN HOUSER and Steven
Widener. |

4. Allin violation of Title 18, United States Code, Sections 2 and 2312.

COUNT TWENTY

The Grand Jury charges that:

1. The Introduction is realleged and incorporated by reference into this Count of the
Indictment.

2, On or about January 6, 2009, in the Western District of Virginia and elsewhere, JOHN
BREWER, received, possessed, concealed, stored, sold and disposed of a motor vehicle which had
crossed a State boundary after being stolen, knowing the same to have been stolen.

3. On or about January 6, 2009, JOHN BREWER received, possessed, concealed, stored,
sold and disposed of an all-terrain vehicle in Elizabethton, Tennessee, that had been transported from
Abingdon, Virginia to Elizabethton, Tennessee, knowing the same to have been stolen.

4. Allin violation of Title 18, United States Code, Section 23 13(a).

COUNT TWENTY-ONE

The Grand Jury charges that:

1. The Introduction is realleged and incorporated by reference into this Count of the

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Indictment.

2. On or about January 10, 2009, in the Western District of Virginia and elsewhere, BOBBY
ALLEN HOUSER, and WILLIAM DEEL, JR, as principals and aiders and abettors, transported in
interstate commerce goods, wares, and merchandise, of the value of $5,000 or more, knowing the
same to have been stolen, converted or taken by fraud.

3. On or about January 10, 2009, BOBBY ALLEN HOUSER, and WILLIAM DEEL, JR.,
stole furniture and appliances with a value of $5,000 or more from a mobile home retail center
located in Washington County, Virginia. The furniture was transported to Bristol, Tennessee by
BOBBY ALLEN HOUSER, and WILLIAM DEEL, JR..

4. Allin violation of Title 18, United States Code, Sections 2 and 2314.

COUNT TWENTY-TWO

The Grand Jury charges that:

1. The Introduction is realleged and incorporated by reference into this Count of the
Indictment.

2. On or about and between January 30, 2009, and February 2, 2009, in the Western District
of Virginia and elsewhere, BOBBY ALLEN HOUSER, and WILLIAM DEEL, JR., and Steven
Widener as principals and aiders and abettors, transported in interstate commerce a motor vehicle,
knowing the same to have been stolen.

3. On or about and between January 30, 2009, and February 2, 2009, BOBBY ALLEN
HOUSER, and WILLIAM DEEL, JR., and Steven Widener stole eight all-terrain vehicles, and a
Ford pick-up truck from a business in Lebanon, Virginia. Some of the all-terrain vehicles were

transported to Elizabethton, Tennessee, and the Ford pick-up was transported to Paintsville,

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Kentucky.
4. Allin violation of Title 18, United States Code, Sections 2 and 2312.
COUNT TWENTY-THREE

The Grand Jury charges that:

1. The Introduction is realleged and incorporated by reference into this Count of the
Indictment.

2. On or about and between January 30, 2009, and February 2, 2009, in the Western District
of Virginia and elsewhere, JOHN BREWER, received, possessed, concealed, stored, sold and
disposed of a motor vehicle which had crossed a State boundary after being stolen, knowing the same
to have been stolen.

3, On or about January 30, 2009, and February 2, 2009, JOHN BREWER received
possessed, concealed, stored, sold and disposed of an all-terrain vehicle in Elizabethton, Tennessee,
that had been transported from Lebanon, Virginia to Elizabethton, Tennessee, knowing the same to
have been stolen.

4, All in violation of Title 18, United States Code, Section 2313(a).

COUNT TWENTY-FOUR

The Grand Jury charges that:

1. The Introduction is realleged and incorporated by reference into this Count of the
Indictment.

2. On or about and between F ebruary 2, 2009 and February 10, 2009, in the Western District
of Virginia and elsewhere, ROBERT EDWARDS, received possessed, concealed, stored, sold and

disposed ofa motor vehicle which had crossed a State boundary after being stolen, knowing the same

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to have been stolen.

3. On or about and between February 2, 2009, and February 10, 2009, ROBERT EDWARDS
received possessed, concealed, stored, sold and disposed of an all-terrain vehicle in Ellenboro, North
Carolina, that had been transported from Lebanon, Virginia to Ellenboro, North Carolina knowing
the same to have been stolen.

4. Allin violation of Title 18, United States Code, Section 2313(a).

COUNT TWENTY-FIVE -

The Grand Jury charges that:

1. The Introduction is realleged and incorporated by reference into this Count of the
Indictment.

2. On or about and between February 2, 2009 and February 10, 2009, in the Western District
of Virginia and elsewhere, TONY CAMPBELL, received possessed, concealed, stored, sold and
disposed ofa motor vehicle which had crossed a State boundary after being stolen, knowing the same
to have been stolen.

3. On or about February 2, 2009, and February 10, 2009, TONY CAMPBELL received
possessed, concealed, stored, sold and disposed of an all-terrain vehicle in Carter County, Tennessee,
that had been transported from Lebanon, Virginia to Carter County, Tennessee, knowing the same
to have been stolen.

4. All in violation of Title 18, United States Code, Section 2313(a),

COUNT TWENTY-SIX

The Grand Jury charges that:

1. The Introduction is realleged and incorporated by reference into this Count of the

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Indictment.

2. On or about and between January 1, 2008, and March 30, 2009, in the Western District
of Virginia and elsewhere, BOBBY ALLEN HOUSER, WILLIAM DEEL, JR., DAVID
MITCHELL, ROBERT EDWARDS, DANNY BAIRD, JAMES Doss, ROCKY TRIVETTE, and
others, known and unknown to the grand jury, conspired to possess with the intent to distribute and
distribute Oxycontin (oxycodone), morphine, or their equivalents, Schedule II controlled substances,
and Lortab (hydrocodone) and Suboxone (Buprenorphine), or their equivalents, schedule III
controlled substances, and marijuana, in violation of Title 21, United States Code, Section 841 (a)(1).

3. All in violation of Title 21, United States Code, Sections 846, 841(b)(1)(C) and
841(b)(1}(D).

COUNT TWENTY-SEVEN

The Grand Jury charges that:

1. The Introduction is realleged and incorporated by reference into this Count of the
Indictment.

2, On or about March 18, 2009, in the Western District of Virginia and elsewhere,
MICHAEL WIDENER, while under oath as a witness before a federal Grand Jury in Abingdon,
Virginia, a proceeding before and ancillary to the United States District Court for the Western
District of Virginia, knowingly made a false material declaration:

3. The grand jury was conducting an investigation to determine whether violations of federal
Jaw had been committed, namely, transportation of stolen motor vehicles and stolen property in
interstate commerce, in violation of 18 U.S.C. §§ 2312, 2313, 2314, 2315, and conspiracy to

distribute controlled substances, in violation of 21 U.S.C. § 846. It was material to the investigation

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that the grand jury ascertain if MICHAEL WIDENER had knowledge of the exchange of stolen or

embezzled property under the control of MICHAEL WIDENER to WILLIAM DEEL, JR., BOBBY

ALLEN HOUSER, and others in exchange for controlled substances.

4. At the time and place alleged, MICHAEL WIDENER, appearing as a witness under oath

at a proceeding before the grand jury, knowingly made the following declarations in response to

questions (false statements in bold):

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How much did you sell this engine to Billy Deel for?

Three hundred dollars.

What else were you supposed to receive for it?

Nothing. I didn’t get all the money. He gave me a hundred and fifty dollar
and I haven’t seen him to get the rest since.

Were you supposed to receive prescription pills for the engine?

No sir,

Do you use prescription pills?

Not now, no, sir.

When did you stop?

‘Year ago.

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So it’s your testimony you did not trade that engine to Billy Deel for
Suboxone pills?

No sir, I did not.

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5. The aforesaid underscored testimony of MICHAEL WIDENER was false because
MICHAEL WIDENER knew that he had agreed to trade an engine to WILLIAM DEEL, JR., in
exchange for Suboxone (Buprenorphine), a Schedule III controlled substance.

6. Allin violation of Title 18, United States Code, Section 1623.

COUNT TWENTY-EIGHT

The Grand Jury charges that:

1. The Introduction is realleged and incorporated by reference into this Count of the
Indictment.

2. On or about March 18, 2009, in the Western District of Virginia and elsewhere, TONY
CAMPBELL, while under oath as a witness before a federal Grand Jury in Abingdon, Virginia, a
proceeding before and ancillary to the United States District Court for the Western District of
Virginia, knowingly made a false material declaration:

3. The grand jury was conducting an investigation to determine whether violations of federal
law had been committed, namely, transportation of stolen motor vehicles and stolen property in
interstate commerce, in violation of 18 U.S.C. §§ 2312, 2313, 2314, 2315, and conspiracy to
distribute controlled substances, in violation of 21 U.S.C. § 846. It was material to the investigation
that the grand jury ascertain if TONY CAMPBELL had purchased stolen motor vehicles and
property from JOHN BREWER and the circumstances of those transactions.

4. At the time and place alleged, TONY CAMPBELL, appearing as a witness under oath at
a proceeding before the grand jury, knowingly made the following declarations in response to
questions (false statements in bold):

Q. Okay. You paid how much for it?

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I give him fifteen hundred at the time and I told him he -- when I got back
from Kentucky, that he was supposed to provide me a bill of sale or a
title to it for me to pay him another four thousand dollars or if not, I
wanted my four-wheeler or the, my money back and he could have the

four-wheeler.

Fe PRe eee ee reese CreRD aE

So now your testimony is that you were gonna pay him a total of fifty-five
hundred dollars for the four-wheeler?

Yeah, if he supplied the title or bill of sale for it.

Weil, what if he didn’t?

He was --

Were you just gonna pay him fif--

He was to give me my money back and I’d give him the four-wheeler

back.

SEC R Oe PO FEA e TERE REE REED

Have you purchased any other equipment from John Brewer?
Huh-uh.

Do you know that, if he’s sold any other equipment to anybody else?
Don’t know of any. That’s what I told the detective before.
Okay.

He asked me about different things and I told him I hadn’t seen anything

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else that he had anyway.

5. The aforesaid underscored testimony of TONY CAMPBELL was false because TONY
CAMPBELL knew that he had purchased a stolen four-wheeler from JOHN BREWER for $1,500.00
and that he had also purchased a stolen Kubota back-hoe.

5. Allin violation of Title 18, United States Code, Section 1623,

COUNT TWENTY-NINE

The Grand Jury charges that:

1. The Introduction is realleged and incorporated by reference into this Count of the
Indictment.

2. On or about and between January 2009, in the Western District of Virginia and elsewhere,
BOBBY ALLEN HOUSER and Steven Widener, conspired to possess a firearm in or affecting
interstate or foreign commerce, after having been convicted in any court of a crime punishable by
imprisonment for a term exceeding one year, in violation of Title 18, United States Code, Section
922(g)(1).

3. In furtherance of the conspiracy and to achieve the objects thereof, the defendants
committed and caused to be committed overt acts in the Western District of Virginia and elsewhere,
including, but not limited to the following: |

A) On or about January 6, 2009, BOBBY ALLEN HOUSER and Steven
Widener stole three all-terrain vehicles and a trailer with a value in excess of
$9,000, from a business in Wytheville, Virginia. One of the all-terrain
vehicles, a Honda 350, was transported to Elizabethton, Tennessee and sold

to JOHN BREWER. Another all-terrain vehicle, a green Quad-runner, was

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transported to Bristol, Tennessee, by Steven Widener and BOBBY ALLEN
HOUSER, and traded for a motorcycle and a firearm, a Taurus .44 caliber
magnum pistol, s/n XG200752, which were then transported to Steven
Widener’s residence in Abingdon, Virginia..
4. Allin violation of Title 18, United States Code, Section 371.
COUNT THIRTY

The Grand Jury charges that:

1. The Introduction is realleged and incorporated by reference into this Count of the
Indictment.

2. On or about May 16, 2009, in the Western District of Virginia and elsewhere, TONY
CAMPBELL knowingly used intimidation, threatened, and corruptly persuaded another person, and
attempted to do so, with the intent to (a) influence, delay, and prevent the testimony of any person
in an official proceeding; and (b) hinder, delay, or prevent the communication to a law enforcement
officer or judge of the United Sates of information relating to the commission or possible
commissions of a Federal offense. -

3. On or about February 2009, federal investigators became involved in an investigation
relating to the trafficking of stolen property in Virginia and Tennessee in violation of 18 U.S.C. $$
2312, 2313, 2314 and 2315,

4, On or about March 18, 2009, TONY CAMPBELL testified before a federal grand jury in
the United States District Court of the Western District of Virginia in relation to the investigation
of stolen property trafficking.

5. On or about May 16, 2009, TONY CAMPBELL became aware that federal investigators

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were questioning his associates regarding his possession of stolen property.

6. On or about: May 16, 2009, TONY CAMPBELL placed numerous telephone calls to
Person “A”, a person known to the grand jury who was cooperating with federal investigators,
requesting that Person “A” contact TONY CAMPBELL. Person “A” placed a phone call to TONY
CAMPBELL and spoke with TONY CAMPBELL regarding the ongoing federal investigation of
stolen property trafficking. Person “A” knew that TONY CAMPBELL had possessed a stolen
backhoe being sought in the investigation.

7. Person “A” questioned TONY CAMPBELL about the whereabouts of the stolen backhoe
and stated that its whereabouts needed to be disclosed to law enforcement. TONY CAMPBELL,
upon being questioned regarding the whereabouts of the stolen backhoe, responded to Person “A”
with words to the effect of “when I see you, I’ll take a four-foot level to your head.”

8. This statement was made with the intent to influence and hinder Person “A”’s testimony
in an official proceeding and the reporting of information related to the stolen backhoe to federal
investigators,

9. All in violation of Title 18, United States Code, Section 1512(b\(1) & (3).

NOTICE OF FORFEITURE
1. Upon conviction of one or more of the felony offenses alleged in Counts One through
Twenty-six and Count Twenty-nine of this Indictment, the defendants shall forfeit to the United

States:

(a) any property constituting, or derived from, any proceeds obtained, directly or
indirectly, as a result of said offenses, pursuant to Title 21 United States Code,
Section 853(a)(1).

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(b) any property used, or intended to be used, in any manner or part, to commit, or
to facilitate the commission of said offenses, pursuant to Title 21 United States Code,
Section 853(a)(2).

(c} any firearm used or intended to be used to facilitate the transportation, sale,
receipt, possession, or concealment of controlled substances and/or raw materials, as
described in Title 21 United States Code, Sections 881(a)(1) and (2), and any
proceeds traceable to such property, pursuant to Title 21 U.S.C. Section 881(a)(11)
and Title 28 United States Code., Section 2461 (c).

(d) any firearms and ammunition involved or used in the commission of said
offenses, or possessed in violation thereof, pursuant to Title18 United States Code,
Section 924(d) and Title 28 United States Code, Section 2461 (c).

(e) any property, real or personal, which constitutes or is derived from proceeds
traceable to the commission of said offenses, pursuant to Title 18, United States Code,
Section 981(a)(1)(C).

(f) any property, real or personal, which represents or is traceable to the gross
proceeds obtained, directly or indirectly, as a result of such violation, pursuant to Title

18, United States Code, Sections, 982(a)(5)(D) & (E).

2. The property to be forfeited to the United States includes but is not limited to the

following property:

(1) Monetary Judgment
Not less than $400,000 in U.S. Currency, and all interest and

proceeds traceable thereto, in that such sum in aggregate was obtained
directly or indirectly as a result of said offenses or is traceable to such

property

(2) Firearm
Taurus .44 caliber magnum pistol, s/n XG200752

3. Pursuant to Title 21, United States Code, Section 853(p), as incorporated by Title 18,
_ United States Code, Section 982(b), each defendant shall forfeit substitute property, up to the value
of the property described, if, by any act or omission of the defendant, the property described

a. cannot be located upon the exercise of due diligence;

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b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided without

difficulty;
it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), to seek forfeiture of any other

property of said defendant(s) up to the value of the forfeitable property described above.

ATRUEBILL, this __/ 7% day of May, 2009.

 

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